           Case 1:18-cr-00224-AJN Document 394 Filed 11/13/20 Page 1 of 2
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                                       November 13, 2020

By ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
40 Foley Square, Room 2102
New York, NY 10007

        Re:      United States v. Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

Dear Judge Nathan:

         We have today submitted to the Court, under seal, Defendant Ali Sadr Hashemi Nejad’s
letter responding to the government’s submissions in response to this Court’s September 16,
2020 Order. See Dkt. 379, at 34. Sadr has submitted this letter under seal because it discusses
declarations and exhibits that the government has requested remain under seal. For the reasons
stated in his October 30, 2020 letter opposing the government’s sealing request (Dkt. 389), Sadr
respectfully requests that the Court unseal Sadr’s letter of today in its entirety, along with the
government’s declarations and exhibits.

                                              Respectfully submitted,

                                             /s/ Brian M. Heberlig
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        Case 1:18-cr-00224-AJN Document 394 Filed 11/13/20 Page 2 of 2

The Honorable Alison J. Nathan
November 13, 2020
Page 2


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cc:   Counsel of Record (via ECF)
